
Per curiam.
William G. Posey, a member of the State Bar of Georgia since 1971, petitions the Court for voluntary surrender of his license to practice law. He admits that on October 8, 1991, he ceased all activity on behalf of his legal clients. He secreted himself from all parties involved in his legal activities, abandoned numerous legal matters entrusted to him, and took no reasonable steps to avoid prejudice to the rights of his clients. These actions violate Standards 4 and 44 of Bar Rule 4-102 (d). He further admits that he suffers from mental impairment as defined by Bar Rule 4-104 (a).
The State Disciplinary Board Review Panel recommends that the petition for voluntary surrender of license, as defined by Bar Rule 4-110 (f), be accepted. We adopt the recommendation of the Review Panel.

All the Justices concur.

